Case 2:03-cv-02929-.]PI\/|-STA Document 12 Filed 08/29/05 Page 1 of 2 Page|D 13

 

 

IN THE UNITED sTATES DISTRICT COURT men 5"' ne

FOR THE WESTERN DISTRICT OF TENNESSEE ' '

wESTERN DIVISION 05»4UG` 29 AH 8, 2
X
JAMES MORRIS, X
X
Plaintiff, X
X

vs. X No. 03»2929-Ml/P

X
M.ARK LUT'I'RELL, et al., X
X
Defendants. X
X

 

ORDER DIRECTING CLERK 'I'O REMOVE AND DOCKET PLEADING
IN CORRECT CASE

 

On June 27, 2005, the Clerk docketed a “motion to lift stay”
in this civil action. The pleading pertains to Holliman V. Shelbv
Countv Government, No. 03~2919-D/P. Counsel for plaintiff
captioned the pleading correctly, with the exception of an
erroneous docket number. The Clerk is hereby directed to remove

the pleading from this case and docket it in the correct case.

IT IS SO ORDERED this 27 day of Aug t, 005.
mm

JO PHIPPS MCCALLA
I'I'ED STATES DISTRICT JUDGE

 

Thl's document entered on the docket sheet |n compliance
with Ru|e 58 and/or 79(3) FHCP on '

r`)'A'STES DISTRICT oURT - WESTERNDT"ISRIC oF TENNESSEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:03-CV-02929 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

J ames L. Morris
4052 Mossville St.
i\/lemphis7 TN 38109

Honorable J on McCalla
US DISTRICT COURT

